      Case 3:04-cr-00007 Document 130 Filed on 03/20/07 in TXSD Page 1 of 1

                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                   GALVESTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §    CRIMINAL NO. G-04-07 (02)
                                               §    CIVIL ACTION NO. G-06-588
ROYAL LEE MAYS                                 §

                                   OPINION AND ORDER

       Before the Court is a Report and Recommendation from the United States Magistrate Judge

dated February 21, 2007, which recommends that the Motion of Royal Lee Mays, filed under 28

U.S.C. § 2255, be denied; Mays has filed objections which the Court finds to be without merit.

       After de novo review, pursuant to 28 U.S.C. § 636(b)(1)(C), this Court finds that the

Report and Recommendation of the Magistrate Judge is a well reasoned and correct application

of the law to the facts in this case and it is, therefore, ACCEPTED by this Court in its entirety

and incorporated by reference herein.

       Accordingly, it is the ORDER of this Court that “ Motion to Vacate, Set Aside, or Correct

Sentence” (Instrument no. 116) of Royal Lee Mays is DENIED in its entirety.

       It is further ORDERED that the “ Motion for Rearraignment and Sentencing Transcripts”

(Instrument no. 125) is also DENIED.

   DONE at Galveston, Texas, this 20th day of March, 2007.
